     Case 8:13-cv-01592-AEP Document 7 Filed 06/25/13 Page 1 of 24 PageID 50




                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

CIN-Q AUTOMOBILES, INC.,
a Florida corporation, individually and
as the representative of a class of
similarly-situated persons,

        Plaintiff,

v.                                                    Case No. 8:13-cv-1592-17AEP

BUCCANEERS LIMITED PARTNERSHIP
and JOHN DOES 1-10,

        Defendants.                            /

                      FIRST AMENDED CLASS ACTION COMPLAINT

        Plaintiff, CIN-Q AUTOMOBILES, INC. (“Plaintiff”), brings this action on behalf of

itself and all others similarly situated, through its attorneys, and except as to those allegations

pertaining to Plaintiff or its attorneys, which allegations are based upon personal knowledge,

alleges the following upon information and belief against Defendants, BUCCANEERS

LIMITED PARTNERSHIP and JOHN DOES 1-10 (“Defendants”).

                                PRELIMINARY STATEMENT

        1.      This case challenges Defendants’ practice of sending unsolicited facsimiles.

        2.      The federal Telephone Consumer Protection Act of 1991, as amended by the Junk

Fax Prevention Act of 2005, 47 USC § 227 (“JFPA” or the “Act”), and the regulations

promulgated under the Act, prohibits a person or entity from faxing or having an agent fax

advertisements without the recipient’s prior express invitation or permission. The JFPA provides

a private right of action and provides statutory damages of $500 per violation. Upon information

and belief, Defendants have sent facsimile transmissions of unsolicited advertisements to
   Case 8:13-cv-01592-AEP Document 7 Filed 06/25/13 Page 2 of 24 PageID 51




Plaintiff and the Class in violation of the JFPA, including, but not limited to, the facsimile

transmission of an unsolicited advertisement on August 19, 2009 (“the Fax”), a true and correct

copy of which is attached hereto as Exhibit A and made a part hereof. The Fax promotes the

services and goods of Defendants. Plaintiff is informed and believes, and upon such information

and belief avers, that Defendants have sent, and continue to send, unsolicited advertisements via

facsimile transmission in violation of the JFPA.

       3.      Unsolicited faxes damage their recipients. A junk fax recipient loses the use of its

fax machine, paper, and ink toner. An unsolicited fax wastes the recipient’s valuable time that

would have been spent on something else.           A junk fax interrupts the recipient’s privacy.

Unsolicited faxes prevent fax machines from receiving authorized faxes, prevent their use for

authorized outgoing faxes, cause undue wear and tear on the recipients’ fax machines, and

require additional labor to attempt to discern the source and purpose of the unsolicited message.

       4.      On behalf of itself and all others similarly situated, Plaintiff brings this case as a

class action asserting claims against Defendants under the JFPA and common law conversion.

       5.      Plaintiff is informed and believes, and upon such information and belief avers,

that this action is based upon a common nucleus of operative fact because the facsimile

transmissions at issue were and are being done in the same or similar manner. This action is

based on the same legal theory, namely liability under the JFPA. This action seeks relief

expressly authorized by the JFPA: (i) injunctive relief enjoining Defendants, their employees,

agents, representatives, contractors, affiliates, and all persons and entities acting in concert with

them, from sending unsolicited advertisements in violation of the JFPA; and (ii) an award of

statutory damages in the minimum amount of $500 for each violation of the JFPA, and to have

such damages trebled, as provided by § 227(b)(3) of the Act.




                                                   2
   Case 8:13-cv-01592-AEP Document 7 Filed 06/25/13 Page 3 of 24 PageID 52




                                 JURISDICTION AND VENUE

         6.    This Court has subject matter jurisdiction under 28 U.S.C. § 1331 and 47 U.S.C.

§ 227.

         7.    Venue is proper in this District because Defendants committed a statutory tort

within this district and a significant portion of the events took place here.

                                             PARTIES

         8.    Plaintiff, CIN-Q AUTOMOBILES, INC., is a Florida corporation with its main

office and principal place of business located Alachua County, Florida.

         9.    On     information     and    belief,   Defendant,     BUCCANEERS         LIMITED

PARTNERSHIP (“BUCCANEERS”), is a Delaware corporation with its principal place of

business in Tampa, Florida.

         10.   John Does 1-10 will be identified through Discovery but are currently unknown.

                                      FACTUAL ALLEGATIONS

         11.   Defendants own and operate a professional football team in Tampa, Florida,

which plays some of its scheduled games each season at Raymond James Stadium in Tampa,

Florida.

         12.   The Buccaneers’ 2009 professional football season commenced on August 27,

2009, with a home preseason game against the Miami Dolphins at Raymond James Stadium.

         13.   On or about August 19, 2009, Defendants transmitted by telephone facsimile

machine an unsolicited fax to Plaintiff for the purpose of offering for sale individual game tickets

to the Tampa Bay Buccaneers’ home football games starting with the August 27, 2009, game

against the Dolphins. A copy of the facsimile is attached hereto as Exhibit A.




                                                  3
   Case 8:13-cv-01592-AEP Document 7 Filed 06/25/13 Page 4 of 24 PageID 53




       14.      Defendants created or made Exhibit A which Defendants knew or should have

known is a good or product which Defendants intended to and did in fact distribute to Plaintiff

and the other members of the class.

       15.      Exhibit A was sent at Defendants’ request and on Defendants’ behalf by a

broadcast fax service known as FaxQom for the purpose of assisting and facilitating Defendants’

efforts to sell tickets for the Tampa Bay Buccaneers’ football games to be played at its home

stadium. FaxQom had a contact with Defendants to provide such broadcast fax services on

behalf of Defendants, and such services included offering for sale Tampa Bay Buccaneers’ home

game tickets.

       16.      The fax prompted the recipient to order individual game tickets by using the

Tampa Bay Buccaneers’ website of “Buccaneers.com” or calling a toll free number for

Ticketmaster where Buccaneers’ tickets could be purchased online.

       17.      The fax identified the source as FaxQom and indicated that the recipient could

request removal of its fax number from the database used to send the fax by contacting

Removaltech@FaxQom.com. A printout of portions of the webpage for FaxQom advertises the

furnishing of Worldwide IP Fax Broadcast Services and that FaxQom will provide broadcast

services for its customers. A true copy of the portion of the webpage is attached as Exhibit B.

       18.      Exhibit A is part of Defendants’ work or operations to market Defendants’ goods

or services which were performed by Defendants and on behalf of Defendants. Therefore,

Exhibit A constitutes material furnished in connection with Defendants’ work or operations.

       19.      Plaintiff had not invited or given permission to Defendants to send the fax.




                                                 4
   Case 8:13-cv-01592-AEP Document 7 Filed 06/25/13 Page 5 of 24 PageID 54




       20.     On information and belief, Defendants faxed the same and similar unsolicited

facsimiles to Plaintiff and more than 100,000 other recipients without first receiving the

recipients’ express permission or invitation.

       21.     There is no reasonable means for Plaintiff (or any other class member) to avoid

receiving unauthorized faxes.     Fax machines are left on and ready to receive the urgent

communications their owners desire to receive.

       22.     Defendants’ facsimiles did not display a proper opt-out notice as required by

47 C.F.R. § 64.1200.

                                    CLASS ALLEGATIONS

       23.     In accordance with F. R. Civ. P. 23(b)(1), (b)(2) and (b)(3), Plaintiff brings this

class action pursuant to the JFPA, on behalf of the following class of persons:

               All persons from July 1, 2009, to present who were sent facsimile
               advertisements offering group tickets or individual game tickets for
               the Tampa Bay Buccaneers games and which did not display the opt
               out language required by 47 C.F.R. 64.1200.

Excluded from the Class are the Defendants, their employees, agents and members of the

Judiciary. Plaintiff reserves the right to amend the class definition upon completion of class

certification discovery.

       24.     Class Size (F. R. Civ. P. 23(a)(1)): Plaintiff is informed and believes, and upon

such information and belief avers, that the number of persons and entities of the Plaintiff Class is

numerous and joinder of all members is impracticable. Plaintiff is informed and believes, and

upon such information and belief avers, that the number of class members is at least forty (40).

       25.     Commonality (F. R. Civ. P. 23 (a) (2)): Common questions of law and fact apply

to the claims of all class members. Common material questions of fact and law include, but are

not limited to, the following:



                                                 5
   Case 8:13-cv-01592-AEP Document 7 Filed 06/25/13 Page 6 of 24 PageID 55




              a)      Whether the Defendants sent unsolicited fax advertisements;

              b)      Whether the Defendants’ faxes advertised the commercial availability of

       property, goods, or services;

              c)      The manner and method the Defendants used to compile or obtain the list

       of fax numbers to which they sent Exhibit A and other unsolicited faxed advertisements;

              d)      Whether the Defendants faxed advertisements without first obtaining the

       recipient’s prior permission or invitation;

              e)      Whether the Defendants sent the faxed advertisements knowingly;

              f)      Whether the Defendants violated the provisions of 47 U.S.C. § 227 and

       the regulations promulgated thereunder;

              g)      Whether the faxes contain an “opt-out notice” that complies with the

       requirements of § (b)(1)(C)(iii) of the Act, and the regulations promulgated thereunder,

       and the effect of the failure to comply with such requirements;

              h)      Whether the Defendants should be enjoined from faxing advertisements in

       the future;

              i)      Whether the Plaintiff and the other members of the class are entitled to

       statutory damages; and

              j)      Whether the Court should award treble damages.

       26.    Typicality (F. R. Civ. P. 23 (a) (3)):    The Plaintiff’s claims are typical of the

claims of all class members. The Plaintiff received faxes sent by or on behalf of the Defendants

advertising Defendants’ goods and services during the Class Period. The Plaintiff is making the

same claims and seeking the same relief for itself and all class members based upon the same




                                                 6
   Case 8:13-cv-01592-AEP Document 7 Filed 06/25/13 Page 7 of 24 PageID 56




federal statute. The Defendants have acted the same or in a similar manner with respect to the

Plaintiff and all the class members.

        27.      Fair and Adequate Representation (F. R. Civ. P. 23 (a) (4)): The Plaintiff will

fairly and adequately represent and protect the interests of the class. It is interested in this matter,

has no conflicts and has retained experienced class counsel to represent the class.

        28.      Need for Consistent Standards and Practical Effect of Adjudication (F. R. Civ. P.

23 (b) (1)):    Class certification is appropriate because the prosecution of individual actions by

class members would: (a) create the risk of inconsistent adjudications that could establish

incompatible standards of conduct for the Defendants, and/or (b) as a practical matter,

adjudication of the Plaintiff’s claims will be dispositive of the interests of class members who are

not parties.

        29.      Common Conduct (F. R. Civ. P. 23 (b) (2)):               Class certification is also

appropriate because the Defendants have acted and refused to act in the same or similar manner

with respect to all class members thereby making injunctive and declaratory relief appropriate.

The Plaintiff demands such relief as authorized by 47 U.S.C. §227.

        30.      Predominance and Superiority (F. R. Civ. P. 23 (b) (3)): Common questions of

law and fact predominate over any questions affecting only individual members, and a class

action is superior to other methods for the fair and efficient adjudication of the controversy

because:

                 a)     Proof of the claims of the Plaintiff will also prove the claims of the class

           without the need for separate or individualized proceedings;




                                                   7
Case 8:13-cv-01592-AEP Document 7 Filed 06/25/13 Page 8 of 24 PageID 57




          b)      Evidence regarding defenses or any exceptions to liability that the

    Defendants may assert and prove will come from the Defendants’ records and will not

    require individualized or separate inquiries or proceedings;

          c)      The Defendants have acted and are continuing to act pursuant to common

    policies or practices in the same or similar manner with respect to all class members;

          d)      The amount likely to be recovered by individual class members does not

    support individual litigation. A class action will permit a large number of relatively

    small claims involving virtually identical facts and legal issues to be resolved efficiently

    in one proceeding based upon common proofs; and

          e)      This case is inherently manageable as a class action in that:

                  (i)     The Defendants identified persons or entities to receive the fax

          transmissions and it is believed that the Defendants’ computer and business

          records will enable the Plaintiff to readily identify class members and establish

          liability and damages;

                  (ii)    Liability and damages can be established for the Plaintiff and the

          class with the same common proofs;

                  (iii)   Statutory damages are provided for in the statute and are the same

          for all class members and can be calculated in the same or a similar manner;

                  (iv)    A class action will result in an orderly and expeditious

          administration of claims and it will foster economics of time, effort and expense;

                  (v)     A class action will contribute to uniformity of decisions

          concerning the Defendants’ practices; and




                                            8
   Case 8:13-cv-01592-AEP Document 7 Filed 06/25/13 Page 9 of 24 PageID 58




                        (vi)   As a practical matter, the claims of the class are likely to go

               unaddressed absent class certification.

                                            COUNT I

              Claim for Relief for Violation of the JFPA, 47 U.S.C. § 227 et seq.

       31.     Plaintiff and the Plaintiff Class reassert and incorporate herein by reference the

averments set for in paragraphs 1 through 30 above.

       32.     The JFPA makes it unlawful for any person to “use any telephone facsimile

machine, computer or other device to send, to a telephone facsimile machine, an unsolicited

advertisement …” 47 U.S.C. § 227(b)(1)(C).

       33.     The JFPA defines “unsolicited advertisement” as “any material advertising the

commercial availability or quality of any property, goods, or services which is transmitted to any

person without that person’s prior express invitation or permission, in writing or otherwise.” 47

U.S.C. § 227 (a) (5).

       34.     Opt-Out Notice Requirements. The JFPA strengthened the prohibitions against

the sending of unsolicited advertisements by requiring, in §(b)(1)(C)(iii) of the Act, that senders

of faxed advertisements place a clear and conspicuous notice on the first page of the transmission

that contains the following among other things (hereinafter collectively the “Opt-Out Notice

Requirements”):

               1.       a statement that the recipient is legally entitled to opt-out of receiving

               future faxed advertisements – knowing that he or she has the legal right to request

               an opt-out gives impetus for recipients to make such a request, if desired;

               2.       a statement that the sender must honor a recipient’s opt-out request within

               30 days and the sender’s failure to do so is unlawful – thereby encouraging




                                                 9
  Case 8:13-cv-01592-AEP Document 7 Filed 06/25/13 Page 10 of 24 PageID 59




              recipients to opt-out, if they did not want future faxes, by advising them that their

              opt-out requests will have legal “teeth”;

              3.      a statement advising the recipient that he or she may opt-out with respect

              to all of his or her facsimile telephone numbers and not just the ones that receive a

              faxed advertisement from the sender – thereby instructing a recipient on how to

              make a valid opt-out request for all of his or her fax machines;

       The requirement of (1) above is incorporated from § (b)(D)(ii) of the Act.              The

requirement of (2) above is incorporated from § (b)(D)(ii) of the Act and the rules and

regulations of the Federal Communications Commission (the “FCC”) in ¶31 of its 2006 Report

and Order (In the Matter of Rules and Regulations Implementing the Telephone Consumer

Protection Act, Junk Prevention Act of 2005, 21 F.C.C.R. 3787, 2006 WL 901720, which rules

and regulations took effect on August 1, 2006). The requirements of (3) above are contained in

§ (b)(2)(E) of the Act and incorporated into the Opt-Out Notice Requirements via § (b)(2)(D)(ii).

Compliance with the Opt-Out Notice Requirements is neither difficult nor costly. The Opt-Out

Notice Requirements are important consumer protections bestowed by Congress upon the

owners of fax machines giving them the right, and means, to stop unwanted faxed

advertisements.

       35.    2006 FCC Report and Order. The JFPA, in § (b)(2) of the Act, directed the

FCC to implement regulations regarding the JFPA, including the JFPA’s Opt-Out Notice

Requirements and the FCC did so in its 2006 Report and Order, which in addition provides

among other things:

              A.      The definition of, and the requirements for, an established business

       relationship for purposes of the first of the three prongs of an exemption to liability under




                                                10
  Case 8:13-cv-01592-AEP Document 7 Filed 06/25/13 Page 11 of 24 PageID 60




       § (b)(1)(C)(i) of the Act and provides that the lack of an “established business

       relationship” precludes the ability to invoke the exemption contained in § (b)(1)(C) of the

       Act (See 2006 Report and Order ¶¶8-12 and 17-20);

               B.     The required means by which a recipient’s facsimile telephone number

       must be obtained for purposes of the second of the three prongs of the exemption under

       § (b)(1)(C)(ii) of the Act and provides that the failure to comply with these requirements

       precludes the ability to invoke the exemption contained in § (b)(1)(C) of the Act (See

       2006 Report and Order ¶¶13-16);

               C.     The things that must be done in order to comply with the Opt-Out Notice

       Requirements for the purposes of the third of the three prongs of the exemption under §

       (b)(1)(C)(iii) of the Act and provides that the failure to comply with these requirements

       precludes the ability to invoke the exemption contained in § (b)(1)(C) of the Act (See

       2006 Report and Order ¶¶24-34);

               D.     The failure of a sender to comply with the Opt-Out Notice Requirements

       precludes the sender from claiming that a recipient gave “prior express permission or

       invitation” to receive the sender’s fax (See Report and Order ¶48);

       As a result thereof, a sender of a faxed advertisement who fails to comply with the

Opt-Out Notice Requirements has, by definition, transmitted an unsolicited advertisement under

the JFPA. This is because such a sender can neither claim that the recipients of the faxed

advertisement gave “prior express permission or invitation” to receive the fax nor can the sender

claim the exemption from liability contained in § (b)(C)(1) of the Act.

       36.     The Fax. Defendants sent the August 19, 2009, Fax via facsimile transmission

from telephone facsimile machines, computers, or other devices to the telephone facsimile




                                                11
  Case 8:13-cv-01592-AEP Document 7 Filed 06/25/13 Page 12 of 24 PageID 61




machines of Plaintiff and members of the Plaintiff Class. The Fax constituted an advertisement

under the Act. Defendants failed to comply with the Opt-Out Requirements in connection with

the Fax, which contained no Opt-Out notice whatsoever. The Fax was transmitted to persons or

entities without their prior express permission or invitation and/or Defendants are precluded from

asserting any prior express permission or invitation because of the failure to comply with the

Opt-Out Notice Requirements.            By virtue thereof, Defendants violated the JFPA and the

regulations promulgated thereunder by sending the Fax via facsimile transmission to Plaintiff

and members of the Class.

        37.     Defendants’ Other Violations. Plaintiff is informed and believes, and upon such

information and belief avers, that during the period preceding four years of the filing of this

Complaint and repeatedly thereafter, Defendants have sent via facsimile transmission from

telephone facsimile machines, computers, or other devices to telephone facsimile machines of

members of the Plaintiff Class faxes that constitute advertisements under the JFPA that were

transmitted to persons or entities without their prior express permission or invitation (and/or that

Defendants are precluded from asserting any prior express permission or invitation because of

the failure to comply with the Opt-Out Notice Requirements in connection with such

transmissions). By virtue thereof, Defendants violated the JFPA and the regulations promulgated

thereunder. Plaintiff is informed and believes, and upon such information and belief avers, that

Defendants are continuing to send unsolicited advertisements via facsimile transmission in

violation of the JFPA and the regulations promulgated thereunder, and absent intervention by

this Court, will do so in the future.

        38.     The TCPA/JFPA provides a private right of action to bring this action on behalf

of Plaintiff and the Plaintiff Class to redress Defendants’ violations of the Act, and provides for




                                                  12
  Case 8:13-cv-01592-AEP Document 7 Filed 06/25/13 Page 13 of 24 PageID 62




statutory damages.    47 U.S.C. § 227(b)(3). The Act also provides that injunctive relief is

appropriate. Id.

       39.     The JFPA is a strict liability statute, so the Defendants are liable to the Plaintiff

and the other class members even if their actions were only negligent.

       40.     The Defendants knew or should have known that (a) the Plaintiff and the other

class members had not given express invitation or permission for the Defendants or anybody else

to fax advertisements about the Defendants’ goods or services; (b) Defendants transmitted an

advertisement; and (c) the Fax did not contain the required Opt-Out Notice.

       41.     The Defendants’ actions caused damages to the Plaintiff and the other class

members. Receiving the Defendants’ junk faxes caused the recipients to lose paper and toner

consumed in the printing of the Defendants’ faxes. Moreover, the Defendants’ fax used the

Plaintiff’s fax machine. The Defendants’ fax cost the Plaintiff time, as the Plaintiff and its

employees wasted their time receiving, reviewing and routing the Defendants’ unauthorized fax.

That time otherwise would have been spent on the Plaintiff’s business activities.              The

Defendants’ fax unlawfully interrupted the Plaintiff’s and other class members’ privacy interests

in being left alone. Finally, the injury and property damage sustained by Plaintiff and the other

class members from the sending of Defendants’ advertisements occurred outside of Defendants’

premises.

       WHEREFORE, Plaintiff, CIN-Q AUTOMOBILES, INC., individually and on behalf of

all others similarly situated, demands judgment in its favor and against Defendants,

BUCCANEERS LIMITED PARTNERSHIP and JOHN DOES 1–10, jointly and severally, as

follows:




                                                13
  Case 8:13-cv-01592-AEP Document 7 Filed 06/25/13 Page 14 of 24 PageID 63




                   A.      That the Court adjudge and decree that the present case may be properly

          maintained as a class action, appoint the Plaintiff as the representative of the class and

          appoint the Plaintiff’s counsel as counsel for the class;

                   B.      That the Court award actual monetary loss from such violations or the sum

          of $500 for each violation, whichever is greater;

                   C.      That Court enjoin the Defendants from additional violations; and

                   D.      That the Court award pre-judgment interest, costs and such further relief

          as the Court may deem just and proper.

                                                COUNT II
                                                Conversion

          42.      Plaintiff incorporates paragraphs 1, 3 and 7 through 21 as though fully set forth

herein.

          43.      In accordance with Florida Statute §365.1657, Plaintiff brings Count II for

conversion under the common law for the following class of persons:

                All persons who on or after four years prior to the filing of this action,
                were sent telephone facsimile messages on behalf of the Defendants.

          44.      By sending Plaintiff and the other class members unsolicited faxes, Defendants

improperly and unlawfully converted their fax machines, toner and paper to its own use.

Defendants also converted Plaintiff’s employees’ time to Defendants’ own use.

          45.      Immediately prior to the sending of the unsolicited faxes, Plaintiff and the other

class members owned an unqualified and immediate right to possession of their fax machines,

paper, toner and employee time.




                                                     14
   Case 8:13-cv-01592-AEP Document 7 Filed 06/25/13 Page 15 of 24 PageID 64




        46.     By sending the unsolicited faxes, Defendants permanently misappropriated the

class members’ fax machines, toner, paper and employee time to Defendants’ own use. Such

misappropriate was wrongful and without authorization.

        47.     Defendants knew or should have known that its misappropriation of paper, toner

and employee time was wrongful and without authorization.

        48.     Plaintiff and the other class members were deprived of the use of the fax

machines, paper, toner and employee time, which could no longer be used for any other purpose.

Plaintiff and each class member thereby suffered damages as a result of their receipt of

unsolicited faxes from Defendants.

        49.     Each of Defendants’ unsolicited faxes effectively stole Plaintiff’s employees’

time because multiple persons employed by Plaintiff were involved in receiving, routing and

reviewing Defendants’ illegal faxes. Defendants knew or should have known employees’ time

is valuable to Plaintiff.

        50.     Defendants’ actions caused damages to Plaintiff and the other members of the

class because their receipt of Defendants’ unsolicited fax caused them to lose paper and toner as

a result. Defendants’ actions prevented Plaintiff’s fax machine from being used for Plaintiff’s

business purposes during the time Defendants were using Plaintiff’s fax machine for Defendants’

illegal purpose. Defendants’ actions also cost Plaintiff employee time, as Plaintiff’s employees

used their time receiving, routing and reviewing Defendants’ illegal faxes, and that time

otherwise would have been spent on Plaintiff’s business activities.

        WHEREFORE, Plaintiff, CIN-Q AUTOMOBILES, INC., individually and on behalf of

all others similarly situated, demands judgment in its favor and against Defendants,




                                                15
  Case 8:13-cv-01592-AEP Document 7 Filed 06/25/13 Page 16 of 24 PageID 65




BUCCANEERS LIMITED PARTNERSHIP and JOHN DOES 1–10, jointly and severally, as

follows:

                 A.   That the Court adjudge and decree that the present case may be properly

       maintained as a class action, appoint the Plaintiff as the representative of the class and

       appoint the Plaintiff’s counsel as counsel for the class;

                 B.   That the Court award appropriate damages

                 C.   That the Court award costs of suit; and

                 D.   That the Court award such further relief as the Court may deem just and

       proper.

                                              Respectfully submitted,

                                              CIN-Q AUTOMOBILES, INC., individually
                                              and as the representative of a class of
                                              similarly-situated persons

                                              By: s/ Michael C. Addison
                                              Michael C. Addison – Florida Bar No. 145579
                                              ADDISON & HOWARD, P.A.
                                              400 N. Tampa St., Suite 1100
                                              Tampa, FL 33602-4714
                                              Tel: 813-223-2000
                                              Fax: 813-223-6000

                                              Ryan M. Kelly (Florida Bar No. 90110)
                                              Brian J. Wanca
                                              ANDERSON + WANCA
                                              3701 Algonquin Rd/, Suite 760
                                              Rolling Meadows, IL 60008
                                              Tel: (847) 368-1500
                                              Fax: (847) 368-1501




                                                16
   Case 8:13-cv-01592-AEP Document 7 Filed 06/25/13 Page 17 of 24 PageID 66




                                                  CERTIFICATE OF SERVICE

        I hereby certify that on June 25, 2013, I electronically filed the foregoing document with
the Clerk of the Court using CM/ECF which will send notification of such filing to all counsel of
record and I hereby certify that the foregoing document was served by U.S. mail on the person
listed below.


                                                               s/ Michael C. Addison

Defendant:

Buccaneers Limited Partnership
c/o David Cohen, as General Counsel
One Buccaneer Place
Tampa, FL 33607


\\mcasbs03\docs\clients open\cin-q auto.buccaneers\pld\complaint amended 71829.doc




                                                                   17
  Case
Case   8:13-cv-01592-AEP Document
     8:13-cv-01592-EAK-AEP        7 1-1
                           Document FiledFiled
                                         06/25/13   PagePage
                                               06/18/13  18 of124
                                                                of PageID 6720
                                                                   1 PageID
  Case
Case   8:13-cv-01592-AEP Document
     8:13-cv-01592-EAK-AEP        7 1-2
                           Document FiledFiled
                                         06/25/13   PagePage
                                               06/18/13  19 of124
                                                                of PageID 6821
                                                                   6 PageID
  Case
Case   8:13-cv-01592-AEP Document
     8:13-cv-01592-EAK-AEP        7 1-2
                           Document FiledFiled
                                         06/25/13   PagePage
                                               06/18/13  20 of224
                                                                of PageID 6922
                                                                   6 PageID
  Case
Case   8:13-cv-01592-AEP Document
     8:13-cv-01592-EAK-AEP        7 1-2
                           Document FiledFiled
                                         06/25/13   PagePage
                                               06/18/13  21 of324
                                                                of PageID 7023
                                                                   6 PageID
  Case
Case   8:13-cv-01592-AEP Document
     8:13-cv-01592-EAK-AEP        7 1-2
                           Document FiledFiled
                                         06/25/13   PagePage
                                               06/18/13  22 of424
                                                                of PageID 7124
                                                                   6 PageID
  Case
Case   8:13-cv-01592-AEP Document
     8:13-cv-01592-EAK-AEP        7 1-2
                           Document FiledFiled
                                         06/25/13   PagePage
                                               06/18/13  23 of524
                                                                of PageID 7225
                                                                   6 PageID
  Case
Case   8:13-cv-01592-AEP Document
     8:13-cv-01592-EAK-AEP        7 1-2
                           Document FiledFiled
                                         06/25/13   PagePage
                                               06/18/13  24 of624
                                                                of PageID 7326
                                                                   6 PageID
